    Case 21-30589-MBK             Doc 1969       Filed 04/05/22 Entered 04/05/22 10:44:33             Desc Main
                                               Document      Page 1 of 3
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  ',675,&72)1(:-(56(<

  Caption in Compliance with D.N.J. LBR 9004-1(b)




  Greenbaum, Rowe, Smith & Davis LLP                                        Order Filed on April 5, 2022
  Nancy Isaacson, Esq. (NI/1325)                                            by Clerk
                                                                            U.S. Bankruptcy Court
  75 Livingston Avenue                                                      District of New Jersey
  Roseland, New Jersey 07068
  (973) 535-1600
  nisaacson@greenbaumlaw.com

  Attorneys for Claimant Shirleeta Ellison


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  ,Q5H

  LTL MANAGEMENT, LLC                                                                     11
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                                                             -XGJH           Michael B. Kaplan
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                              ORDER SHORTENING TIME PERIOD FOR NOTICE,
                                SETTING HEARING AND LIMITING NOTICE


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DATED: April 5, 2022
  Case 21-30589-MBK                 Doc 1969     Filed 04/05/22 Entered 04/05/22 10:44:33              Desc Main
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                                                       Nancy Isaacson, Esq.
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                       Motion of Claimant Shirleeta Ellison for Appointment to the Official Committee
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                                                                  April 12, 2022              10:00
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 Debtor, Debtor's Counsel, The Official Committee of Tort Claimants, The Office of The United States Tr
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and all other parties on the Service List established by the Order Establishing Certain Notice, Case Manag
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Case 21-30589-MBK         Doc 1969      Filed 04/05/22 Entered 04/05/22 10:44:33                Desc Main
                                      Document      Page 3 of 3


    $Certification of ServicePXVWEHILOHGSULRUWRWKHKHDULQJGDWH


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